 

Case 4:12-cv-O4114-SOH Document 31 Filed 09/25/12 Page 1 of 1 Page|D #: 336

U S O|STRlCTC@'\)R'I
\J£;WE_FRN CK' mg t <>\' L_ot. ~:M~Nr

Kr:n,'x:.vvr:u :.w r<tv£;'\~wr<r

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT DIVISION
CHRISTY PUGH BASINGER CIVIL ACTION NO. l l-cv-2196
VERSUS JUDGE WALTER
UNITED STATES OF AMERICA MAGISTRATE JUDGE HORNSBY
O R D E R

For the reasons assigned in the Report and Recommendation of the Magistrate Judge
previously filed herein, and having thoroughly reviewed the record, no written objections
having been filed, and concurring With the findings of` the Magistrate Judge under the
applicable laW;

IT IS ORDERED that the Government’s Motion to Transfer Venue (Doc. 12) is
granted, and this case is transferred to the Western District of Arkansas. This court
recommends that this case be assigned to Judge Susan O. Hickey, Who is already presiding
over four cases in the Texarkana Division (12 CV 4020; 12 CV 403 0; 12 CV 4034; and 12
CV 403 5) that arise from the same Albert Pike Recreation Area flood that gave rise to this
and a companion civil action.

T§US DONE AND SIGNED at Shreveport, Louisiana, this the ___2_____/ day
of

' MWM/z;

DONALD E. WALTER
UNITED STATES DISTRICT JUDGE

 

